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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 BRIAN F. HYNES; VENDOR ASSISTANCE CIVIL NO.: 23-1140 (SCC)
 PROGRAM, LLC; BLUE STONE FINANCE,
 LLC; GREYSAND FINANCE, LLC;
 GREYSAND CAPITAL, LLC;
                                   RE:
 Plaintiffs
                                   DEFAMATION
 v.

 FORDE & O’MEARA LLP; MICHAEL K.
 FORDE; LEONARD TRIAL LAWYERS
 LLC; MICHAEL I. LEONARD;

 Defendants


   PLAINTIFFS’ JOINT SURREPLY IN FURTHER SUPPORT OF OPPOSITION TO
                    DEFENDANTS’ MOTION TO DISMISS

TO THE HONORABLE SILVIA CARREÑO-COLL
UNITED STATES DISTRICT COURT JUDGE:

   COME NOW Plaintiffs, Brian F. Hynes (“Mr. Hynes”), Vendor Assistance Program, LLC

(“VAP”), Blue Stone Finance, LLC (“BSF”), Greysand Finance, LLC (“GSF”) (as successor of

BSF), and Greysand Capital, LLC (“GC”) (as successor of Bluestone Capital Markets, LLC

(“BCM”)) (BSF and BCM, collectively, are the “Bluestone Entities”) (GSF and GC, collectively,

are the “Greysand Entities”) (all the appearing parties, collectively, are the “Plaintiffs”), each

through their undersigned counsel, and very respectfully respond to Defendants’ Joint Reply Brief

in Support of the Motion to Dismiss (the “Reply”) as follows:

                                      I.   INTRODUCTION

       As stated in the Amended Verified Complaint filed in the above-captioned case, Defendants

made defamatory and slanderous statements accusing Puerto Rico residents of being “vultures,”

“proverbial pigs,” and of creating shell companies in Puerto Rico in order to avoid Illinois taxes.
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Given the online publictaion of these statements, Puerto Rico residents were exposed to and could

easily access the same. Consequently, Plaintiffs have suffered damages in Puerto Rico.

       The Reply, however, ignores the foregoing and aims to muddy up the waters by applying

an incorrect standard of dismissal to Plaintiffs’ Amended Verified Complaint. The Reply also

attempts to unsuccessfully differentiate the facts of this above-captioned case from the case law

cited in Plaintiffs’ Opposition to Defendants requests for dismissal. As set forth below,

Defendants’ Reply does nothing to erase the fact that this Honorable Court has personal

jurisdiction over the Defendants.

       Hence, Defendants’ Motions to Dismiss should be denied in their entirety.

                                       II.   DISCUSSION

       In their Reply, Defendants insist that the above-captioned Amended Verified Complaint

should be dismissed, transferred, or stayed. Defendants claim that Plaintiffs allegedly raised “two

new factual allegations,” to wit: (i) that the focal point of the defamatory statements was Puerto

Rico; and (ii) that Plaintiffs’ suffered harm in Puerto Rico. Furthermore, the Defendants contend

that: (A) Plaintiffs raised these “two new factual arguments” to align the above-captioned case

with De Laire v. Voirs, Civ. No. 21-cv-131-JD, 2021 WL 1227087 (D. N.H. Apr. 1, 2021); (B)

the defamatory and slanderous references to Puerto Rico in the WBEZ article were ancillary; and

(C) they had no way of knowing that Plaintiffs suffered harm in Puerto Rico. That said, none of

Defendants’ arguments hold water.

       Defendants’ threshold argument is that this Honorable Court lacks personal jurisdiction,

pursuant to Fed. R. Civ. P. 12(b)(2). Where the Court refrains from holding an evidentiary hearing,

the Court applies the “prima facie” standard. See, González-Camacho v. Banco Popular de Puerto

Rico, 318 F. Supp. 3d 461, 470 (D.P.R. 2018). Pursuant to the “prima facie” standard, plaintiff is

reasponsible for establishing that the court has personal jurisdiction over defendants. Id. (citing

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United States v. Swiss Am. Bank, Ltd., 274 F.3d 610, 618 (1st Cir. 2001)). To persuade the Court,

plaintiff need not rely solely on the pleading, but rather, shall submit properly supported facts and

“make affirmative proof” that jurisdiction attaches to the defendant. Id. (referencing Negrón-

Torres v. Verizon Commc'ns, Inc., 478 F.3d 19, 23 (1st Cir. 2007)). “In essence, the ‘inquiry is

whether the plaintiff has proffered evidence which, if credited, is sufficient to support findings of

all facts essential to personal jurisdiction.’ The plaintiff's evidence is thus assumed to be accurate

and it is viewed in the light most favorable to the plaintiff.” Id. (internal citations omitted).

       Thus, Plaintiffs need not limit themselves to what is contained in the allegations of their

complaint. Plaintiffs may go beyond it and submit properly supported facts. Hence, Defendants’

attempt at avoiding this forum's jurisdiction by claiming that new arguments have been added in

order to strengthen the defamation cause of action is improper.

       Moreover, the alleged “new factual allegations” are not new. Plaintiff stated in the

Amended Verified Compliant that the focal point of the defamatory statements was Puerto Rico,

and that there is where they suffered harm. Regardless of Defendants’ claim that their expressions

are directed at Illinois, the focal point of Defendants’ defamatory remarks in the article is the

Puerto Rico-based activities of Puerto Rico residents and companies, among others. The number

of times Puerto Rico is mentioned in the WBEZ article, regardless of its context, is a fact that

demonstrates that the Defendants were well aware that some of the Plaintiffs are residents of Puerto

Rico and that their business activities take place therein. More notably, the foregoing meets the

“something more” requirement to show that the defendants purposefully availed themselves in this

jurisdiction. In that vein, the Defendants’ direct quotes calling defendants “pigs” and “vultures” –

comments to which they refer to as “discrete” in their Reply– need not even include the word

Puerto Rico for it to be clear that the companies to which they refer are, in fact, from Puerto Rico.



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       Reading the WBEZ article in its due context, it is clear that the references to Puerto Rico

are not casual nor ancillary. Those references provide context inasmuch as they point to one of the

places from which the purportedly fraudulent scheme orchestrated by Plaintiffs developed.

       Additionally, the Amended Verified Complaint details the harm Plaintiffs suffered in Puerto

Rico. Contrary to Defendants’ suggestion in their Reply, not even the Fisher Broyles LLP

allegation is new, since Paragraphs 87-88 of the Amended Verified Complaint clearly state that Mr.

Brian Hynes had a lucrative offer of a partnership from the law firm Fisher Broyles, LLP in Puerto

Rico that was later revoked. Hence, mentioning the residence of Fisher Broyles, LLP’s partners is

not an attempt to establish a link between Fisher Broyles and Puerto Rico. That link was already

established in the Amended Verified Complaint. If anything, the additional factual nuances argued

by Plaintiffs in their Opposition are affirmative proof of something already alleged in the Amended

Verified Complaint that further evidences personal jurisdiction.

       WHEREFORE, Plaintiffs respectfully reiterate the request that this Honorable Court deny

Defendants’ Motions to Dismiss.

       WE HEREBY CERTIFY that, on this same date, we electronically filed the foregoing

through the Court’s CM-ECF system which should serve a copy on all counsel of record.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, on this 18th day of October 2023.




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